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              Exhibit 7
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https://www.whitepages.com/name/Michael-S-Holtzman/Larchmont-NY/PL8JrJQBR8x


          Michael S Holtzman                                  Monitor
          El 51 • 8/12/1969        (,:) Larchmont. NY



            §I Unlock Background Report

           Criminal & Traffic Records




          @ Phone Numbers

             LANDLINES (2)




               (914) 834-7428                       (631 ) 246-51 44



             CELL PHONES (5)                                                                                 PREMIUM

                PRIMARY    G)

               (609) 408-2915                       (714) 936-4624                              Show3 More




         (t) Addresses · Michael has 1 current address and 17 other addresses.
                                                                                                                 PR EMIUM


            v' CURRENT

             51 5 Weaver St                                             2 Shi pman Ln
                                                        Map                                                   Map
             Larchmont, NY 10538                                        Stony Brook, NY 11790




             200 Bay Ave                                                250 W 57t h St
                                                        Map                                                   Map
             Ha lesite, NY 11743                                        New York, NY 10107-0001




             602a Main St                                               135 Central Park W Apt 2N
                                                        Map                                                   Map
             Port J efferson, NY 11777-2203                             New York, NY 10023
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